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 1                          UNITED STATES DISTRICT COURT
 2                        SOUTHERN DISTRICT OF CALIFORNIA
 3 MS. L, et al,                              Case No. 18-cv-428 DMS MDD
 4                 Petitioners-Plaintiffs,   ORDER GRANTING JOINT
                                             STIPULATED EXTENSION OF TIME
 5        vs.                                FOR DEFENDANTS TO ANSWER
                                             PLAINTIFFS’ THIRD AMENDED
 6 U.S. IMMIGRATION AND CUSTOMS              COMPLAINT
   ENFORCEMENT, et al,
 7
               Respondents-Defendants.
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10        Before the Court is the parties’ Stipulated Extension of Time for Respondent-
11 Defendants to Answer Petitioners-Plaintiffs’ Third Amended Complaint. IT IS HEREBY
12 ORDERED that Respondent-Defendants Answer to Petitioner-Plaintiffs’ Third Amended
13 Complaint shall be due Monday, February 8, 2021.
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15 Dated: December 8, 2020
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